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Your Honor,



My name is Emily Wiedrich and I have been asked to write a letter to help everyone see who the true
Jacob Wiedrich is. The truth is I feel strongly about Jacobs’ future, and I want to try to make you feel the
same way.

Jacob is a son, grandson, nephew, uncle, cousin, and friend. He is a good person; he is wholehearted,
loving, kind, loyal, and true to himself and everyone around him. When you take a good look at Jacob
you would see that he is passionate about all topics in life: family, health & fitness, sports, but more
importantly now, personal growth. Jacob has been pushing himself beyond his comfort zone and
maintaining a growth mindset. Failing at times but continuing to fight to better himself.

You will never meet someone who feels as deeply and intensely as Jacob. He works towards his goals
with determination and celebrates even the smallest achievements. He is big-hearted, generous,
considerate, adventurous, and courageous.

He is extremely bright and has a lot of potentials to do great things for his community and future if given
the opportunity. Please, try to look past this instant when he was caught in the moment. He isn’t a bad
person, he has made many mistakes, but he does try very hard to learn and grow from them.
